    Case 2:18-cr-00703-JMV Document 112 Filed 01/28/21 Page 1 of 1 PageID: 595




                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY




    UNITED STATES,

                  Plaintiff,                                         Crim. No. 18-703

           v.
                                                                         ORDER
    MICHAEL HEALY, et al.
                  Defendant.


John Michael Vazquez, U.S.D.J.

          On January 13, 2021, the Court entered an Order which required that the Government

produce “to the Court for an in camera review an unredacted copy of the Cappiello video-taped

statement.” D.E. 110. The Government thereafter produced a copy of the statement with all

portions that had been redacted before being disclosed to Defendant Michael Healy. The Court

conducted an in camera review and there was no discernible Brady information 1 in the portions of

video-taped statement that were redacted and not provided to Defendant. As a result, and for good

cause shown,

          IT IS on this 28th day of January 2021, hereby

          ORDERED that Defendant’s motion, D.E. 95, for the production of an unredacted copy

of the Cappiello video-taped statement pursuant to Brady is DENIED.



                                                       s/ John Michael Vazquez
                                                       John Michael Vazquez, U.S.D.J.



1
    The Court did not review the redacted portions for potential Giglio information.
